Case 2:03-cV-02569-BBD-tmp Document 360 Filed 07/11/05 Page 1 of 3 Page|D 360

IN THE UNITED STATES DISTRICT COURT BY "' D‘o'

 

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WESTERN DIVIsIoN SJUL ll PH |= 08
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BOBBIE cARR, W 0§1':‘§, MEVW
Plaimiff,
vs. No. 03-2569-D/P

HOME TECH SERVICES CO., INC., et al.,

Defendants.

 

ORDER GRANTING NOVASTAR MORTGAGE, INC.’S
MOTION FOR PROTECTIVE ORDER

 

This matter came before the Court upon the Motion of Defendant, NovaStar Mortgage,
Inc. (“NovaStar”) for Protective Order concerning its Rule 26(a) expert disclosures

Upon due consideration of the matter before the Court, it appears that NovaStar’s Motion
Should be granted

IT IS THEREFOR_E, ORDERED, ADJUDGED, AND DECREED that:

NovaStar’s Rule 26(a) expert disclosures shall be due 60 days after: (a) plaintiff makes
all of her Rule 26(a) expert disclosures; and (b) plaintiff responds fully to all of NovaStar’s

Interrogatories, Document Requests and Requests for Admission, the deadlines for which are set

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oanED sTATEs' ' JUDGE

by Separate order of this Court.

DATE:

This document entered on the docket sheet in compliance

with Ftule 58 and/or 79(a) FRCP on 2'[_§’§2§§ . z‘ , 0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 360 in
case 2:03-CV-02569 Was distributed by fax, mail, or direct printing on
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Case 2:03-cV-02569-BBD-tmp Document 360 Filed 07/11/05 Page 3 of 3 Page|D 362

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Honorable Bernice Donald
US DISTRICT COURT

